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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 HIGHLAND CAPITAL                            §
 MANAGEMENT LP,                              §
                                             §
      Debtor,                                §
                                             §
 THE CHARITABLE DAF FUND LP,                 §
 et al.,                                     §
                                             §
      Appellants,                            §
                                             §
 v.                                          §   Civil Action No. 3:21-CV-03129-N
                                             §
 HIGHLAND CAPITAL                            §
 MANAGEMENT LP,                              §
                                             §
      Appellee.                              §

                                        ORDER

        The above-referenced matter is transferred to the docket of the Honorable Judge

Jane J. Boyle, who originally had this case. All future pleadings shall be filed under case

number 3:21-CV-3129-B.


        SIGNED June 7, 2022.




                                                            David C. Godbey
                                                       United States District Judge




ORDER – SOLO PAGE
